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                      UNITED STATES BANKRUPTCY COURT
                       Western District of Missouri


 In re:                                    )
                                           )
 Samuel & Elizabeth Quinones,              )
                     Debtors,              )
                                           )   Case No. 13-40933
                                           )
                                           )   Chapter 13




                 DEBTORS’ AMENDMENT TO CHAPTER 13 PLAN

       Come Now Debtors, Samuel & Elizabeth Quinones, by and

 through their attorney of record, Jason C. Amerine, and amends

 their Chapter 13 Plan to reflect the following:
       1.   That Debtors’ Chapter 13 Plan payments shall decrease

            to $440.00 per month.

       2.   That debtor’s on-going mortgage payment to Residential

            Credit Solutions shall be paid direct beginning with

            the July 2014 disbursement.

       3.   That the pre-petition arrearage amount still owed, as

            well as, any post-petition arrearage amount shall be

            paid direct by the debtor as it has been rolled into

            the loan modification.

       4.   That all other provisions of Debtors’ Chapter 13 Plan

            are to remain the same.

                                       Respectfully Submitted,


                                       Castle Law Office of Kansas City
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                                           By: /s/Jason C. Amerine_______
                                           Jason C. Amerine #50857
                                           811 Grand Blvd.
                                           Suite 101
                                           Kansas City, MO 64106
                                           P: 816-842-6200
                                           F: 816-421-5403

                                Certificate of Service

      The undersigned hereby certifies that a true and accurate
 copy of the foregoing Amendment to Chapter 13 Plan was served
 first-class mail, postage prepaid, or via electronic filing on
 the following parties and the attached matrix this July 9, 2014.




                                           /s/Jason C. Amerine_______
                                           Jason C. Amerine #50857


 Mr. Richard V. Fink
 Chapter 13 Trustee
 818 Grand Blvd. Ste. 800
 Kansas City, MO 64106

 Residential Credit Solutions
 4708 Mercantile Dr
 Fort Worth, TX 76137

 Millsap and Singer
 612 Spirit Drive
 St. Louis, MO 63005
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Advance America                       Affiliated Management Services Inc   Americash Loans LLC
4625 Shawnee Dr                       PO BOX 2119                          3375 Main St
Kansas City KS 66106                  Mission KS 66201                     Kansas City MO 64111




Berlin Wheeler Inc                    Berlin-wheeler,inc-mo                Capital One Auto Finance
Pob 479                               711 W Mccarty St                     3901 N Dallas Pkwy
Topeka KS 66601                       Jefferson City MO 65101              Plano TX 75093




Chase                                 Check Smart                          Exe Fin Con
10790 Rancho Bernardo Rd              4996 Roe Avenue                      Po Box 14765
San Diego CA 92127                    Mission KS 66205                     Shawnee Mission KS 66285




Executive Financial Cons              Gemb/care Credit                     Josephine Ortega
310 Armour Road                       Attn: bankruptcy                     3434 Bell
Kansas City MO 64116                  Po Box 103104                        Kansas City MO 64111
                                      Roswell GA 30076



Kansas Counselors Of K                KDOR                                 North Kansas City Hospital
Po Box 14765                          915 SW Harrison Street               PO Box 419263, Dept. 222
Shawnee Mission KS 66285              Topeka KS 66625                      Kansas City MO 64193




Northland Radiology                   Receivables Management               Residential Credit Slt
P.O. Box 419380                       14675 Martin Dr                      4282 North Fwy
Dept. 128                             Eden Prairie MN 55344                Fort Worth TX 76137
Kansas City MO 64141



Sams Club / GEMB                      St Lukes Hospital                    Venture Financial
Attention: Bankruptcy Department      4401 Wornall Rd.                     9500 E. 63rd St. Ste 202
Po Box 103104                         Kansas City MO 64111                 Kansas City MO 64133-4951
Roswell GA 30076
